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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES,                                           DECLARATION

                v.                                        No. 23 Cr. 118 (AT)

 YANPING WANG,

                              Defendant.


       I, EMIL BOVE, pursuant to Title 28, United States Code, Section 1746, declare as follows:

       1.     I have been a member in good standing of the bar of the State of New York since

June 2009. I have been a member in good standing of the bar of this Court since October 2010.

       2.     I served as an Assistant United States Attorney at the U.S. Attorney’s Office for the

Southern District of New York between approximately October 1, 2012 and approximately

December 20, 2021.

       3.     On September 19, 2019, I was named one of two Co-Chiefs of the Office’s

Terrorism and International Narcotics Unit (“TIN”), which the Office now refers to as NSIN. The

Office also named a second Co-Chief of TIN on the same day.

       4.     At the time of the announcement, I was spending substantially all of my time

preparing for a trial in United States v. Hernandez, No. 15 Cr. 379 (S.D.N.Y.). I was effectively

absent from TIN in light of my focus on trial preparation, and remained absent during the

Hernandez trial. The Hernandez trial concluded on October 18, 2019.

       5.     I played no role, as a supervisor or otherwise, in the FBI’s relationship with Ho

Wan Kwok, which, according to the prosecutors,                                                 the

TIN investigation at issue (the “TIN Matter”). (See Gov’t Mem. at 3).




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with one or both of the line AUSAs, but I do not recall the substance of those conversations, which

suggests to me that they were sporadic and limited.

       12.     The prosecutors’ brief describes three emails, which are dated October 31, 2019,

July 1, 2020, and July 8, 2020. (Gov’t Mem. at 5-7; id. Exs. A, B, C). The prosecutors have not

shared these documents with me, and I do not recall these communications.

       13.     The prosecutors’ brief states that, at an undisclosed point in time during my

government service, one of my Co-Chiefs “became conflicted from aspects of the TIN Matter.”

(Gov’t Mem. at 7). I do not understand the reference to “aspects” of the TIN Matter, and I do not

recall such a conflict being communicated to me during my service.

       14.     In early January 2022, I joined Chiesa Shahinian Giantomasi PC (“CSG Law”).

When I started to work at the firm, I was asked to help represent Mei Guo in connection with an

existing matter at the firm that predated my arrival by at least approximately one year. The since-

retired Associate United States Attorney asked me not to participate in the representation. Without

sufficient information to evaluate any potential conflict myself, and because the Sixth Amendment

did not apply in that matter, I did what I was asked.

       15.     In approximately June 2023, I was asked to participate in the representation of Ms.

Wang in these proceedings. In response to the request, I reviewed public filings in this case. Prior

to accepting the engagement, I also reviewed relevant ethics rules, consulted CSG Law’s general




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counsel and other colleagues, and discussed the potential conflicts with Ms. Wang without

disclosing confidential government information.

       I declare under penalty of perjury that, to the best of my knowledge, the foregoing
information is true and correct.

Dated: New York, New York
       August 7, 2023                             Respectfully submitted,

                                                  /s/ Emil Bove
                                                  Emil Bove
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                                                  Attorney for Yanping Wang

Cc:    Counsel of Record
       (Via Email)




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